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 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  ) CASE NO. 2:07-CR-00314 LKK
                                                )
12               Plaintiff,                     )
                                                )
13       v.                                     ) ORDER CONTINUING STATUS
                                                ) CONFERENCE
14   JOSE LUIS MORALES, et al.,                 )
                                                )
15               Defendant.                     )
                                                )
16                                              )
17

18         The parties appeared before the Court on May 20, 2014, in the above-entitled case.
19   At that time, based upon the representations and agreement of both counsel, the Court
20   ordered that the status conference set for May 20, 2014 at 9:15 a.m., be continued to July
21   22, 2014 at 9:15 a.m., and that the time beginning May 20, 2014, extending through July
22   22, 2014, was excluded from the calculation of time under the Speedy Trial Act. The
23   exclusion of time is appropriate due to defense counsel’s need to prepare, and for
24   continuity of counsel. The additional time is necessary to ensure defense counsel’s
25   effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
26   3161(h)(7)(B)(iv); Local Code T4.
27         ACCORDINGLY, it is hereby ordered that the status conference set for May 20,
28
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 1   2014 at 9:15 a.m., be continued to July 22, 2014 at 9:15 a.m., and that the time beginning
 2   May 20, 2014, and extending through July 22, 2014, be excluded from the calculation of
 3   time under the Speedy Trial Act. The Court finds that the interests of justice served by
 4   granting this continuance outweigh the best interests of the public and the defendant in a
 5   speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 6         IT IS SO ORDERED.
 7   Dated: June 18, 2014
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